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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
            Plaintiff,                   )
                                         )
      v.                                 )              4:08CR566 CDP
                                         )
AARON WILLIAMS,                          )
JANE HOLMES and                          )
ALPHONSO HEMPHILL,                       )
                                         )
            Defendants.                  )

                                         ORDER

      IT IS HEREBY ORDERED that the jury trial in this matter as to defendants

Aaron Williams, Jane Holmes and Alphonso Hemphill is set for Monday,

March 23, 2009 at 8:30 a.m.




                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 2nd day of February, 2009.
